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 7

 8                                    UNITED STATES DISTRICT COURT
 9                                           DISTRICT OF NEVADA
10       MICHAEL BRUCE BYNOE,                              Case No. 3:07-cv-00009-LRH-CLB
11
                  Petitioner,
12                                                                  UNOPPOSED MOTION FOR
         vs.                                                     ENLARGEMENT OF TIME TO FILE
13                                                               RESPONSE TO SECOND AMENDED
                                                                     PETITION (ECF NO. 98)
         PERRY RUSSELL, WARDEN, et al.,
14
                                                                         (SECOND REQUEST)
                  Respondent(s).
15

16              Respondents move this Court for an enlargement of time of 30 days from the current due date of
17   June 17, 2022, up to and including July 18, 2022,1 in which to file their Response to Petitioner Michael
18   Bruce Bynoe’s Second Amended Petition for Writ of Habeas Corpus (ECF No. 98). This Motion is made
19   pursuant to Fed. R. Civ. P. 6(b) and Rule 6-1 of the Local Rules of Practice and is based upon the attached
20   declaration of counsel. This is the second enlargement of time sought by Respondents, and the request is
21   brought in good faith and not for the purpose of delay.
22              DATED: June 17, 2022.
23                                                         Submitted by:
24                                                         AARON D. FORD
                                                           Attorney General
25
                                                           By:      /s/ Jaimie Stilz
26                                                               Jaimie Stilz (Bar. No. 13772)
                                                                 Deputy Attorney General
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     1
       30 days from June 17 is Sunday, July 17. Since due dates falling on weekend days are moved to the
28   following business day, the due date would be moved to Monday, July 18.


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 1                                   DECLARATION OF JAIMIE STILZ

 2   STATE OF NEVADA )
                      ) ss:
 3   COUNTY OF CLARK )
 4          I, JAIMIE STILZ, being first duly sworn under oath, depose and state as follows:

 5          1.      I am an attorney licensed to practice law in all courts within the State of Nevada, and am

 6   employed as a Deputy Attorney General in the Office of the Nevada Attorney General. I am assigned to

 7   represent Respondents in Michael Bruce Bynoe v. Perry Russell, Warden, et al., Case No. 3:07-cv-00009-

 8   LRH-CLB, and as such, have personal knowledge of the matters contained herein.

 9          2.      This is my second request for an extension to file the Response to the Second Amended

10   Petition (ECF No. 98), and this Motion is made in good faith and not for the purpose of delay.

11          3.      The Response to the Second Amended Petition is currently due on June 17, 2022.

12          4.      I am unable with due diligence to timely complete the Response herein. My office just

13   obtained the supplemental portion of the state court record two days ago; I am still in the process of now

14   reviewing said materials, which documents are critical to completing the Response. Additionally, I am

15   still attempting to manage significant on-going personal/medical issues. I have been diligently striving

16   to resolve and/or work around these issues but they have significantly impacted my ability to complete

17   the Response in a timely fashion, thus necessitating an extension.

18          5.      In seeking this extension, I am taking into consideration additional obligations and

19   deadlines for both myself and my supervising senior colleague.

20          6.      I have spoken to counsel for Bynoe, and he does not oppose this request.

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 1          7.     Based on the foregoing, I respectfully request an enlargement of time of 30 days, up to

 2   and including July 18, 2022, to file the Response to the Second Amended Petition (ECF No. 98).

 3          I declare under penalty of perjury that the foregoing is true and correct.

 4          Executed on this 17th day of June, 2022.

 5                                                         /s/ Jaimie Stilz
                                                          Jaimie Stilz (Bar No. 13772)
 6                                                        Deputy Attorney General
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 8
                                                          IT IS SO ORDERED:
 9
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                                                          _________________________________________
11                                                        LARRY R. HICKS
                                                          UNITED STATES DISTRICT JUDGE
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13                                                        Dated: June 23, 2022.
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